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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

 FRANCISCO RIVERA NARVAEZ AND
 ADELA ROSADO MALDONADO,
       Plaintiffs

            v.                          CIVIL NO. 18-1896(RAM)


 JC PENNEY PUERTO RICO, INC. ET
 AL.,
       Defendants



                           OPINION AND ORDER
RAÚL M. ARIAS-MARXUACH, United States District Judge.

     Pending before the Court is Defendants’ Motion to Dismiss the

Complaint for failure to state a claim upon which relief can be

granted. (Docket No. 8). After reviewing the documents on record

and the applicable law, the Court hereby DENIES Defendants’ motion

to dismiss and REMANDS this lawsuit to the Puerto Rico Court of

First Instance, Bayamon Superior Part, for lack of subject matter

jurisdiction.

                             I. BACKGROUND

     On September 20, 2018, Francisco Rivera-Narvaez and Adela

Rosado Maldonado (collectively “Plaintiffs”) filed a Complaint in

the Puerto Rico Court of First Instance against JC Penney Puerto

Rico, Inc. (“JC Penney”); Synchrony Bank (“Synchrony”); as well as

Sam’s Club Puerto Rico; T.J. Maxx Puerto Rico; Walmart Puerto Rico;
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Old Navy Puerto Rico and their unnamed insurance companies. (Docket

No. 1-1 at 1-3). Plaintiffs allege that in November 2017, they

were victims of identity theft, and that as a result, their credit

cards with the stores JC Penney, Sam’s Club, T.J. Maxx, Walmart an

Old Navy were used improperly and without their authorization.

(Docket No. 1-1 at 4-5). Plaintiffs contend that the damages to

their finances and credit were caused by Defendants’ negligence

and failure to authorize the identification of credit card users.

(Docket No. 1-1 at 6).

       JC Penney and Synchrony (collectively “Defendants”) filed a

Notice of Removal on November 21, 2018. (Docket No. 1). Defendants

argue that the claims in the Complaint arise under the Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. §§ 1681-1681u, and thus, the

Court has original jurisdiction. (Docket No. 1 at 2).

       On December 28, 2018, Defendants filed a Motion to Dismiss on

the grounds that Plaintiffs merely alleged that Defendants were

negligent and failed to mention that they disputed the reporting

of their account with any Credit Reporting Agency. (Docket No. 8

at 7). Furthermore, Defendants argue that Section 1681(e) of the

FCRA    explicitly    limits   Defendants’     liability    for   allegedly

providing inaccurate credit information. (Docket No. 8 at 7).

Defendant’s Motion to Dismiss went unopposed. (Docket Nos. 13 and

14).
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     This case was reassigned to the undersigned on June 6, 2019.

(Docket No. 16).

                           II. APPLICABLE LAW

  A. The Standard of Review for Removal

     Pursuant to the federal removal statute 28 U.S.C § 1441(a),

“any civil action brought in a State court of which the district

courts of the United States have original jurisdiction, may be

removed by the defendant or the defendants, to the district court

of the United States for the district and division embracing the

place where such action is pending.” In order for a district court

to have original jurisdiction over a civil action, it must be

determined that “the case could have been filed originally in

federal    court   based   on    a    federal   question,   diversity     of

citizenship, or another statutory grant of jurisdiction.” Villegas

v. Magic Transp., Inc., 641 F. Supp. 2d 108, 110 (D.P.R. 2009)

(citing Caterpillar, Inc. v. Williams, 482 U.S. 386, 393 (1987)).

  B. The Well-Pleaded Complaint Rule

     The   Supreme   Court      has   established   that    ordinarily,   a

plaintiff is the “master of the complaint.” Holmes Grp., Inc. v.

Vornado Air Circulation Sys., Inc., 535 U.S. 826, 831 (2002). As

such, the well-pleaded complaint rule enables a plaintiff to have

their cause of action heard in state court by “eschewing claims

based on federal law.” Caterpillar Inc. v. Williams, 482 U.S. at

398-399 (1987). Therefor, “if the allegations presented in the
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complaint are premised only on local law, the claim cannot be

deemed to have arisen under federal law and the case cannot be

removed.” Iturrino Carrillo v. Marina Puerto del Rey Operations,

LLC, 2019 WL 3385173, at *2 (D.P.R. July 26, 2019). (emphasis

added). Citing Negron-Fuentes v. UPS Supply Chain Sols., 532 F.3d

1, 6 (1st Cir. 2008) and Cambridge Literary Properties, Ltd. v. W.

Goebel Porzellanfabrik G.m.b.H. & Co. KG., 510 F.3d 77, 93 (1st

Cir. 2007). Even when plaintiffs could have asserted a federal law

claim, this District has recognized their discretion to decline to

do so. See Villegas, 641 F. Supp. 2d at 112-13.

     As an exception to the well-pleaded complaint rule, “certain

state claims are subject to removal, even if they purport to rest

only on state law, because        the subject matter is powerfully

preempted by federal law, which offers some ‘substitute’ cause of

action.” Negron-Fuentes, 532 F.3d at 6. (emphasis added).

  C. Remanding Claims for Lack of Subject Matter Jurisdiction

     Under 28 U.S.C § 1447(c), “a motion to remand the case on the

basis of any defect other than lack of subject matter jurisdiction

must be made within 30 days after the filing of the notice of

removal.” In accordance with this statute, there exists consensus

that “failure to raise any nonjurisdictional basis for remand,

including   untimely   removal,   within   the   statutory   time      period

results in waiver of the argument for remand, whether remand is

upon motion by the plaintiff or granted sua sponte by the Court.”
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Pineiro v. Oriental Grp., 734 F. Supp. 2d 239, 242 (D.P.R. 2010)

(citations omitted).

      On the other hand, 28 U.S.C § 1447(c) also dictates that “[i]f

at any time before final judgment it appears that the district

court    lacks     subject    matter     jurisdiction,     the    case     shall   be

remanded.” Therefore, pursuant to this section, subject matter

jurisdiction “can be entertained at any time and it can be either

raised     by    the   Court sua sponte or         by    the     parties    to     the

proceedings.”       Modern Office Sys., Inc. v. AIM Caribbean Exp.,

Inc., 802 F. Supp. 617, 618 (D.P.R. 1992).

  D. The Fair Credit Reporting Act

      The Fair Credit Reporting Act (“FCRA”) was enacted by Congress

“to ensure fair and accurate credit reporting, promote efficiency

in the banking system, and protect consumer privacy.” Safeco Ins.

Co. of Am. v. Burr, 551 U.S. 47, 52, 127 S. Ct. 2201, 2205, 167 L.

Ed. 2d 1045 (2007). To achieve this purpose, Section 1681s-2 of

the FCRA establishes a series of duties and responsibilities for

entities that furnish information to consumer reporting agencies

(“CRAs”) to abide by. 15 U.S.C. § 1681s-2. Namely, under this

section,     furnishers       of    information    are   obligated    to    provide

accurate        information        to   consumer    reporting      agencies        and

investigate and report any disputes they receive from consumers.

Id.
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       In addition to imposing said duties, the FCRA also limits the

liability of furnishers of information and other persons covered

by the law. Generally,

       [N]o consumer may bring any action or proceeding in the
       nature of defamation, invasion of privacy, or negligence
       with respect to the reporting of information against any
       consumer reporting agency, any user of information, or
       any person who furnishes information to a consumer
       reporting agency, based on information disclosed
       pursuant to […] this title, or based on information
       disclosed by a user of a consumer report to or for a
       consumer against whom the user has taken adverse action,
       based in whole or in part on the report except as to
       false information furnished with malice or willful
       intent to injure such consumer. 15 U.S.C.A. § 1681h(e).
       (emphasis added).

       Beyond limiting the liability for furnishers of information,

the FCRA explicitly states “no requirement or prohibition may be

imposed    under   the   laws   of   any    State”    with      regards   to   the

“responsibilities of persons who furnish information to consumer

reporting agencies” pursuant to section 1681s-2. 15 U.S.C. §

1681t(B)(1)(F). In other words, the FCRA preempts state law claims

against entities that provide information to CRAs with regards to

how they report credit information and handle consumer disputes.

However, this section also states that despite the aforementioned

prohibition, the FCRA does not annul, alter, affect, or exempt any

person from complying with the laws of any State with respect to

“the   collection,    distribution,    or    use     of   any    information   on

consumers, or for the prevention or mitigation of identity theft,

except to the extent that those laws are inconsistent with any
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provision of this subchapter, and then only to the extent of the

inconsistency. 15 U.S.C.A. § 1681t(a).

      It is worth noting that neither the limitation on liability

under Section 1681h(e) nor the preemption established by Section

1681t     of   the   FCRA   concerning       claims      against    furnishers     of

information are absolute. The language contained in both sections

is limited to claims regarding the reporting of credit information.

Moreover, Section 1681t explicitly states that persons covered by

the FCRA must still comply with State law provisions aimed at

preventing identity theft. 15 U.S.C.A. § 1681t(a).

      While there is some debate amongst federal courts with regards

to which actions are completely preempted by the FCRA, this

District has held that “all state law claims against a person who

furnished information to a consumer reporting agency, for acts

occurred after the consumer reporting agency received notice of

the   consumer's     dispute,    are      totally   preempted      by   the    FCRA.”

Gonzalez-Bencon v. Doral Bank, 759 F. Supp. 2d 229, 236 (D.P.R.

2010).    (emphasis    added).       Therefore,     in   cases     where   the   FCRA

completely preempts state law, the complaint does not need to

explicitly contain a claim under the FCRA in order to be properly

removed. See Keller v. Bank of Am., N.A., 228 F. Supp. 3d 1247,

1253 (D. Kan. 2017) (“Although plaintiff does not specifically

claim     that   defendant      is    a    ‘furnisher,’      plaintiff        alleges

sufficient facts that he is a consumer within the meaning of the
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statute, and that defendant has provided incorrect information

concerning plaintiff’s bank account.”)

     However,   complete    preemption    does   not   apply   to      claims

unrelated to credit reporting. In Galper v. JP Morgan Chase Bank,

N.A., the Second Circuit determined that the FCRA did not preempt

plaintiffs’ state law claims against Chase Bank for identity theft

and aiding and abetting identity theft based on Chase’s vicarious

liability for its employees. Galper v. JP Morgan Chase Bank, N.A.,

802 F.3d 437 (2d Cir. 2015). The Second Circuit determined that

Section 1681t(b)(1)(F) “must be read to preempt only those claims

against furnishers that are ‘with respect to’ the subject matter

regulated under § 1681s–2”. Galper, 802 at 446. Moreover, the term

“with respect to” should be interpreted to apply to (1) individuals

when they are acting as furnishers of information and (2) claims

against said furnishers that concern their responsibilities under

the FCRA. Id. at 446-447. The Court reasoned that identity theft

claims are “distinct from any erroneous or otherwise wrongful

actions by Chase in furnishing information to consumer reporting

agencies.” Id. at 441. Therefore, given that said claims “are not

‘with respect to’ the responsibilities of persons who furnish

information to consumer reporting agencies” as required by the

statute, they are not preempted by the FCRA. Id. at 441.
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                             III. ANALYSIS

     The Complaint before the Court presents a claim exclusively

under Puerto Rico’s general tort statute, Article 1802 of the

Puerto Rico’s Civil Code. P.R. Laws Ann. tit. 31, § 5141 (1991).

As the masters of their Complaint, Plaintiffs chose not to invoke

any applicable federal statute.        Although   federal jurisdiction

cannot be avoided by presenting only state law claims when complete

preemption applies, plaintiffs must still allege sufficient facts

so that their claims effectively arise under the preempting federal

statute.

     In this case, Plaintiffs’ only contention is that Defendants

were negligent by failing to verify the identification of credit

card users, therefore allowing a third party to use their credit

card without proper authorization, causing damages to Plaintiffs’

finances and credit. (Docket No. 1-1). Although Plaintiffs do seek

damages for the negative effects identity theft had on their

credit, Plaintiffs do not allege any facts or claims regarding

erroneous credit reporting. (Docket No. 1-1). The claims against

Defendants are not related to their capacity or responsibilities

as furnishers of credit information, but rather to their alleged

negligence in avoiding identity theft. See Galper, 802 at 446-447.

In other words, Plaintiffs claims are not “with respect to” the

responsibilities of furnishers of credit information (the subject

matter regulated under Section 1681s-2) and are therefore not
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within the scope of preemption established by Section 1681t of the

FCRA. Id. at 446. It is worth reiterating that the same section of

the FCRA that establishes Congress’s intent to preempt state law

claims   regulating   credit    reporting   explicitly   carves    out   an

exception for identity theft. See 15 U.S.C.A. § 1681t(a).

     As noted by Defendants in their Motion to Dismiss, Plaintiffs

do not include any CRAs as defendants, name who is reporting

incorrect information, or allege precisely what information is

being falsely reported.” (Docket No. 8 at 3-4). Defendants argue

that this constitutes a failure to adequately state a claim under

the FCRA. However, in light of the well-pleaded complaint rule,

said “omissions” are indicative that Plaintiffs did not present a

claim arising under the FCRA at all. On their part, Defendants do

not provide any case law in their Notice of Removal to demonstrates

that analogous claims have been tried in or removed to federal

district courts. In their Motion to Dismiss, Defendants correctly

identify that the FCRA limits the liability for furnishers of

information and preempts certain state law claims against said

furnishers.   However,   they   fail   to   recognize   that   Plaintiff’s

lawsuit is simply not predicated on any violation of the FCRA and

thus, their claims are neither limited nor preempted by the federal

statute.

     Although Plaintiffs have not presented a request to remand

their claims to state court, pursuant to 28 U.S.C § 1447(c) and
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its applicable case law, this Court, sua sponte, remands the

present case for lack of subject matter jurisdiction.

                            IV. CONCLUSION

    For the reasons set forth herein, Defendants’ motion to

dismiss is DENIED. (Docket No. 8). However, due to the lack of

subject matter jurisdiction, this Court ORDERS that the present

case be remanded to the Puerto Rico Court of First Instance,

Bayamon Superior Part, case number BY2018CV03064.

    Judgment shall be entered accordingly.

    IT IS SO ORDERED.

    In San Juan Puerto Rico, this 20th day of August 2019.

                                 S/ RAÚL M. ARIAS-MARXUACH
                                 United States District Judge
